
WRIGHT, Circuit Judge,
dissenting:
The majority holds that issuance of the maximum hiring age policy did not require *501notice and comment rulemaking under Section 4 of the Administrative Procedure Act (APA).1 The court finds the policy exempt from the rulemaking requirements because it involves “a matter relating to agency management or personnel.”2 On this ground alone I dissent.
In interpreting the personnel exemption the majority relies primarily on its view of “the language of the statute itself.” Majority opinion (Maj. op.), 673 F.2d at 496; see also id. at 496-497. I do not find the statutory language to be so dispositive. Moreover, the majority’s interpretation of the exemption is completely at odds with
(a) the legislative history of the exemption;
(b) existing case law in this circuit;
(c) scholarly commentary; and
(d) sound considerations of public policy.
Under these circumstances, I think the personnel exemption does not apply to the maximum hiring age policy, and therefore the policy should have been invalidated since it was issued without notice and comment.
1. INTERPRETING THE PERSONNEL EXEMPTION
A. Statutory Language
The majority starts by assuming that “personnel” matters necessarily include all hiring rules. See maj. op., 673 F.2d at 496 (“a personnel matter, such as hiring standards”). This assumption necessarily forecloses any further inquiry. I do not think it wise to proceed so casually.
To begin with, the statutory language is not free from ambiguity. Indeed, while enacting the APA Congress considered but chose not to use language that would have covered all hiring rules. One of the three major bills introduced in the 77th Congress that addressed reform of administrative procedure contained a complete exemption for “any matter concerning or relating to * * * [t]he election, appointment, promotion, transfer, dismissal, or discipline of an employee or officer of any ageney[.]”3 Similarly, Section 5 of the APA dealing with adjudication contains an exemption for matters involving “the selection or tenure of an employee[.]” 4 Yet when the exemption to Section 4 was added at a late stage in the evolution of the Act,5 the Senate Judiciary Committee did not adopt precise language exempting all hiring rules, but rather chose the more amorphous term “personnel.” Accordingly, we must look beyond the language of the statute itself to decipher the scope of the exemption.
B. Legislative History
In the development of the APA, the subject of exemptions received only occasional attention. Nonetheless, every reference to *502the meaning of the personnel exemption in the legislative history of the Act conflicts with the majority’s interpretation of the exemption. The majority can find absolutely nothing in the legislative history to support its position.
At the outset, two key provisions of the APA should be distinguished. The statutory provision at stake in this suit is Section 4, the rulemaking provision. Section 4 contains the exemption for matters relating to agency management or personnel. A comparable exemption was included in Section 3 of the APA, the public disclosure provision, when the Act originally passed. The original Section 3 contained an exemption for matters “relating solely to the internal management of an agency.” 6 Section 3 in its original form no longer exists; the Freedom of Information Act7 replaced it.
The legislative history suggests that the Section 4 exemption was congruent with the exemption in the original Section 3. For instance, the Senate report states that the exemption for management or personnel matters was supposed to operate “only so far as not inconsistent with other provisions of the bill relating to internal management or personnel.”8 This language is crucial because it indicates that the exemption for “agency management or personnel” matters in Section 4 is equivalent to the original Section 3 exemption for matters “relating solely to the internal management of an agency.”
This reading of the Section 4 exemption is thoroughly supported by the 1947 manual on the APA that the Attorney General prepared. The Supreme Court and this court have given deference to the interpretations in this manual “because of the role played by the Department of Justice in drafting the legislationf.]”9 The manual indicates that the Section 4 exemption is substantively the same as the original Section 3 exemption for matters relating solely to internal management. U.S. Department of Justice, Attorney General’s Manual on the Administrative Procedure Act 27 (1947). Seen in this light, the exemption in Section 4 is quite narrow, for the equivalent Section 3 exception was to apply only “[i]f a matter is solely the concern of the agency proper, and therefore does not affect the members of the public to any extent * * Id. at 18 (emphasis added).10
The majority mentions the Attorney General’s manual, but then rejects its proposed construction because of differences in the language of the Section 3 and Section 4 exemptions. Maj. op., 673 F.2d at 498. This hardly constitutes deference to the Attorney General’s interpretation. Since the Justice Department was deeply involved in the drafting of the APA, the Attorney General was undoubtedly aware of the differences in the language of the exemptions when he provided his interpretation. Yet, 36 years after passage of the APA, the majority wishes to substitute its own reading of the Act for “ ‘a contemporaneous construction of a statute by the men charged with the responsibility of setting its machinery in motion,’ ” even though such a construction deserves respect. Power Reactor Development Co. v. Internat’l Union of Elec., Radio &amp; Machine Wkrs, 367 U.S. 396, 408, 81 S.Ct. 1529, 1535, 6 L.Ed.2d 924 (1961) (quoting Norwegian Nitrogen Products Co. v. United States, 288 U.S. 294, 315, 53 S.Ct. 350, 358, 77 L.Ed. 796 (1933)).
*503Recent congressional action seems to confirm the thrust of the original APA. In Section 201(a) of the Civil Service Reform Act of 197811 Congress made clear that the newly-created Office of Personnel Management was subject to the requirements of notice and comment except when issuing “internal personnel rules or procedures applicable just to OPM employees.”12 The Senate report emphasized that the provision &gt;was adopted “in response to concern expressed that the Office of Personnel Management might not be subject to the procedural safeguards of the Administrative Procedure Act that currently apply to administrative agencies.”13 Thus the mere “concern” that OPM “might” not be subject to a broad notice and comment mandate provoked congressional action.
Moreover, the “concern” that presumably provoked congressional action was that an Office, as opposed to an agency, might be exempt from the informal rulemaking requirements.14 See Soucie v. David, 448 F.2d 1067, 1073 (D.C.Cir.1971) (while definition of “agency” under the APA is “not entirely clear,” the Office of Science and Technology is an agency for purposes of the Act); 1 K. Davis, Administrative Law Treatise § 1:2 at 8 (1978). Congress thus resolved any doubt that, in performing its functions, the Office of Personnel Management must use notice and comment except when issuing strictly internal personnel rules. When those same functions were performed by the Civil Service Commission, the predecessor of OPM, the Commission must necessarily have been subject to the same strict notice and comment requirements since no one disputes that a Commission is an “agency” for purposes of the APA.
Thus, at least with respect to OPM, the notice and comment requirements of the APA apply with full force to all matters other than those involving strictly internal personnel rules. Congress has announced its views. And “while the views of subsequent Congresses cannot override the unmistakable intent of the enacting one, * * * such views are entitled to significant weight, * * * and particularly so when the precise intent of the enacting Congress is obscure.” Seatrain Shipbuilding Corp. v. Shell Oil Co., 444 U.S. 572, 596, 100 S.Ct. 800, 814, 63 L.Ed.2d 36 (1980) (citations omitted).
C. Case Law
New cases have dealt with the personnel exemption of Section 4, and only two have attempted to define its scope. Both of the relevant cases are from this circuit: one in the District Court and one in the Court of Appeals.
In Seaboard World Airlines v. Gronouski, 230 F.Supp. 44, 46 (D.D.C.1964), the District Court addressed the question whether a policy aimed at employees necessarily fell under the personnel exemption. The Post Office had attempted to argue that a directive to its personnel concerning mail carried abroad involved “a matter relating to agency management or personnel” under the Section 4 exemption. The District Court concluded that, while the policy might be directed to personnel, it “substantially affects outside parties and is therefore NOT subject to the [personnel] exception.” Id. at 46 (emphasis in original).
The test used in Seaboard for determining the reach of the Section 4 exemption— whether a policy substantially affects outside parties — was explicitly adopted by this circuit in Joseph v. U.S. Civil Service Comm’n, 554 F.2d 1140 (D.C. Cir. 1977). Joseph involved a Civil Service Commission *504regulation exempting local elections from some provisions of the Hatch Act, thereby allowing federal employees to participate in District of Columbia political campaigns. In holding that such a regulation did not fall within the “agency management or personnel” exemption of Section 4, the court stated that “although the Commission’s regulation is only directed at government personnel it does not fall within [the exemption] because outside individuals are substantially affected.” Id. at 1153 n.23 (citing Seaboard World Airlines v. Gronouski, supra, 230 F.Supp. at 46) (emphasis added).15
D. Application of Law to Fact
Based on the legislative history of the Section 4 exemption and on the case law interpreting it, the maximum age policy clearly does not fall within the scope of the provision. By its very nature, the policy has a direct impact on those members of the public who might apply for law enforcement positions. Indeed, the policy automatically disqualifies all members of the public over 35 from government employment in this job area. The effect on the public is thus substantial.
Moreover, the maximum hiring age policy implicates even broader public interests. The problem of arbitrary age discrimination has provoked legislative responses at both federal and state levels. See, e.g, Age Discrimination in Employment Act, 29 U.S.C. §§ 621-634 (1976); H.R.Rep.No. 805, 90th Cong., 1st Sess. 2 (1967) (24 states had passed age discrimination legislation similar to the federal act). The purpose of such laws is “to promote employment of older persons based on their ability rather than age[.]” 29 U.S.C. § 621(b). In line with the development of such legislation, age discrimination has become a subject of national concern. See, e.g., S.Rep.No. 493, 95th Cong., 1st Sess. 2-3 (1977) (“a new awareness has developed concerning discrimination against the elderly”). Under these particular circumstances, a maximum hiring age policy raises concerns well beyond those of the agency proper.
That a maximum hiring age policy raises unusually significant public concerns is demonstrated by recent congressional action pertaining to the precise policy at stake in this suit. In 1981 the House of Representatives adopted an amendment to the Justice Department authorization bill16 providing that the Bureau of Prisons could not enforce any age restriction on hiring set below age 45 (as opposed to the existing age limit, 35 years). See 127 Cong.Rec. H2801-H2803 (1981).17 Congressmen were outraged by the existing age-35 figure. The sponsor of the amendment declared that “[t]he prison system’s current policy is one of unabashed ‘ageism.’ ” Id. at H2801 (statement of Mr. Gilman). Moreover, those favoring the amendment pointed out that the existing regulation undermines veterans preference hiring policies, since those retiring from the armed services after 20 years service would be over 35 years old and therefore ineligible for positions in the Bureau of Prisons. Id. at H2801-H2803 (statements of Mr. Solomon and Mr. Sawyer). Even the lone defender of the existing age limit implored his colleagues to “have hearings on it and let us determine what the correct age is, if any * * Id. *505at H2802 (statement of Mr. Kastenmeier) (emphasis added).
In the narrow set of cases where a proposed rule substantially affects parties outside an agency and implicates broad public concerns, the personnel exemption from rulemaking requirements surely does not apply.18 Additional support for this conclusion can be found by turning to expert commentary and considerations of public policy.
E. Expert Commentary
Almost without exception, academic commentators have adopted views that conflict with the majority’s interpretation of the Section 4 exemption. For instance, one of the first major articles discussing APA exemptions found the management or personnel exemption to be limited in scope. “Thus, the rule making requirements of the Act do not apply to rules relating to the internal or ‘housekeeping’ operations of the Federal Government and its agencies * Ginnane, “Rule Making,” “Adjudication” and Exemptions under the Administrative Procedure Act, 95 U.Pa.L.Rev. 621, 634 (1947) (emphasis added). Similarly, a major treatise on administrative law published in 1952 noted that the “agency management or personnel” exemption was “considered identical with the second exemption of § 3, despite its different wording.” R. Parker, Administrative Law 179 n.40 (1952).
Professor Arthur Bonfield has undertaken the most detailed analysis of the Section 4 exemption. Bonfield is “a recognized expert in the field of APA exemptions,”19 who has written two major articles on APA exemptions. See Public Participation in Federal Rulemaking Relating to Public Property, Loans, Grants, Benefits, or Contracts, 118 U.Pa.L.Rev. 540 (1970); Military and Foreign Affairs Function Rule-Making Under the APA, 71 Mich.L.Rev. 221 (1972).
In his Michigan Law Review article Professor Bonfield devotes six pages to a discussion of the scope of the “agency management or personnel” exemption in Section 4. Id. at 316-321. Discussing hiring rules for the armed forces, Bonfield adopts an analysis that parallels the discussion provided in this dissent:
A closer case is presented with respect to the rules prescribing the terms and qualifications for initial enlistment into the armed forces. Those rules certainly relate to agency “personnel”; but they are primarily directed at the public and its rights rather than at the rights of existing agency staff. The above rules may *506not, then, relate “solely to the internal management of an agency” to use the language of section 3 of the APA, which is supposedly congruent in scope with the [Section 4] exemption. After all, rules of this sort may be deemed to “substantially affect outside parties” within the meaning of the Seaboard case.
Id. at 320-321 (emphasis in original).
F. Considerations of Public Policy
A prime motivation behind the APA reforms was the conclusion that rulemaking processes “should be adapted to giving adequate opportunity to all persons affected to present their views, the facts within their knowledge, and the dangers and benefits of alternative courses.” Attorney General’s Committee on Administrative Procedure, Administrative Procedure in Government Agencies 102 (1941). Public participation was deemed essential “to afford adequate safeguards to private interests,” id. at 103, and to inform agencies of “the information, facts, and probabilities which are necessary to fair and intelligent action,” id. at 102. Only “in connection with regulations of minor, noncontroversial character” was the delay and expense of advance notice and comment deemed unwarranted. Id. at 108.
The notice and comment rulemaking procedure has been deemed “one of the greatest inventions of modern government.” K. Davis, Administrative Law Treatise § 6.15 at 283 (1970 Supp.). Because the “salutary effect of the Act’s public comment procedures cannot be gainsaid, so only reluctantly should courts recognize exceptions therefrom.” Humana of South Carolina, Inc. v. Califano, 590 F.2d 1070, 1082 (D.C. Cir. 1978) (discussing “benefits” exception in APA § 4(2)).
Because of these types of considerations, the Section 4 exemptions were supposed to be narrowly interpreted.20 At the same time, three rationales presumably supported the existence of a management or personnel exemption. First, some matters may involve areas of agency expertise so directly that the value of outside input is marginal. Second, some policies may be the product of internal agency processes that already allow affected individuals a voice in the process without formal notice and comment rulemaking. Third, some matters are undoubtedly so related to “housekeeping” functions that the burden of notice and comment procedures is simply not warranted. None of these considerations has much logical force in the context of a maximum hiring age policy.
First, judgments concerning the use of age as a hiring criterion do not appear to fall within the range of matters about which agencies are likely to have sole expertise. Individuals and groups outside an agency can undoubtedly present useful ideas and information about the relationship between age and ability to perform a job. Indeed, some groups apparently devote extensive efforts to studying this matter; their views could be significant. At the same time, there is little likelihood that normal decision making processes within the agency have taken such views fully into account. In contrast to those personnel policies with which existing employees are concerned, employees already in law enforcement positions were not noticeably affected by the maximum hiring age policy. On the other hand, only non-employees were detrimentally affected. These people can have a say only if procedures for public participation are employed. Finally, the burden of notice and comment procedures is warranted where a policy raises broad public concerns and has ramifications well beyond the confines of the agency involved.
*507In short, important considerations of policy reinforce the conclusion that public participation is appropriate before adoption of a maximum hiring age policy. The justifications for an exemption for management or personnel matters do not apply in this case.
II. CONCLUSION
In concluding that the maximum hiring age policy was not subject to the procedural requirements of notice and comment, the majority has adopted a most unfortunate approach to the Section 4 personnel exemption. In the course of its opinion the majority rejects uncontroverted legislative history; it discards this circuit’s prior interpretation of the exemption; it ignores the consensus of academic commentary; and it closes off public participation on an issue of vital importance.
For all of these reasons, I respectfully dissent.

. 5 U.S.C. § 553 (1976).


. Id. § 553(a)(2).


. S. 918, 77th Cong., 1st Sess. § 900(c), reprinted in Administrative Procedure: Hearings on S. 674, S. 675, and S. 918. Before a Subcommittee of the Senate Committee on the Judiciary, 77th Cong., 1st Sess. 34-35 (1941) (emphasis added). S. 918 was a revised version of the Walter-Logan administrative procedure bill, which had passed Congress but was vetoed by the President in 1940. Consideration of the major bills introduced in 1941 was postponed because of the war, but the language of each was undoubtedly familiar to the eventual authors of the APA. See, e.g., S.Rep. No. 752, 79th Cong., 1st Sess. (1945), reprinted in Senate Committee on the Judiciary, 79th Cong., 2d Sess., Legislative History of the Administrative Procedure Act 188-190 (1946) (hereinafter Legislative History).


. 5 U.S.C. § 554(a)(2) (1976) (emphasis added).


. Passed in 1946, the APA was the culmination of a decade of development. However, as late as January of 1945 the personnel exemption was not part of a much-revised bill introduced by Senator McCarran, a major sponsor of the Act. See H.R. 1203, 79th Cong., 1st Sess., reprinted in Legislative History, supra note 3, at 155. H.R. 1203 was identical with the Senate bill that was introduced in January 1945. Legislative History, supra note 3, at 11. By May 1945, the Senate Judiciary Committee had incorporated the language of the exemption along with several other mostly minor revisions. See Senate Committee on the Judiciary, Committee Print of June 1945, reprinted in Legislative History, supra note 3, at 11.


. APA § 3(2), Pub.L. No. 79-404, § 3(2), 60 Stat. 238 (1946).


. 5 U.S.C. § 552 (1976).


. S.Rep.No. 752, 79th Cong., 1st Sess. (1945), reprinted in Legislative History, supra note 3, at 199 (emphasis added).


. Vermont Yankee Nuclear Power Corp. v. NRDC, 435 U.S. 519, 546, 98 S.Ct. 1197, 1213, 55 L.Ed.2d 460 (1978). See Guardian Federal S &amp; L Ass’n v. Federal S &amp; L Ins. Corp., 589 F.2d 658, 664 &amp; n.21 (D.C.Cir.1978).


. The narrowness of the § 3 exemption is reinforced by reference to Senate debate. See Congressional Record, March 12, 1946, reprinted in Legislative History, supra note 3, at 305 (statement of Sen. McCarran) (broad disclosure favored except to extent that “only internal agency ‘housekeeping’ arrangements” are involved).


. 5 U.S.C. § 1105 (Supp. IV 1980).


. S.Rep.No. 95-989, 95th Cong., 2d Sess. 26 (1978), reprinted in II House Committee on Post Office and Civil Service, 96th Cong., 1st Sess., Legislative History of the Civil Service Reform Act of 1978 at 1490 (1979).


. Id.


. The legislative history sheds little light on the actual concerns expressed to the Senate Committee; however, the Senate reports’ emphasis on the safeguards that apply to “administrative agencies” suggests the source for concern.


. This court has followed a similar approach in interpreting the analogous § 3 exemption. Where “[t]he public effect is remote,” as with regulations prescribing the authority of a commanding officer over a gun factory, they have been deemed as relating to internal management. Cafeteria &amp; Restaurant Wkrs Union, Local 473 v. McElroy, 284 F.2d 173, 179 (D.C.Cir. 1960), aff'd, 367 U.S. 886, 81 S.Ct. 1743, 6 L.Ed.2d 1230 (1961).


. Justice Department Appropriation Authorization Act, H.R. 3462, 97th Cong., 1st Sess. (1981).


. The bill was not enacted into law, however. See maj. op. n.31.


. Obviously, most hiring standards are exempt from rulemaking requirements because they do not implicate broad public interests and are therefore the proper concern of the agency alone. This case, however, does not involve a routine or individualized job requirement. The maximum hiring age rule automatically disqualifies over 50 million members of the labor force from possible employment in nearly 4,000 job positions solely on the basis of their age. See U.S. Dep’t of Commerce, Bureau of the Census, Statistical Abstract of the United States: 1980 at 394, Table No. 653 (1980) (members of the labor force 35 years and older).
Thus the majority’s discussion of the formulation of typical job requirements is inapposite. Moreover, its reliance on the Federal Personnel Manual, maj. op., 673 F.2d at 499, seems misplaced. As the majority itself recognizes, id. at n.45, the procedures in that Manual remain “largely unchanged” despite the unmistakable mandate of the Civil Service Reform Act of 1978 as to the use of notice and comment rulemaking. 5 U.S.C. § 1105 (Supp. IV 1980). Thus the Manual serves as a poor guide to the APA’s requirements. Also, the majority ignores the fact that federal agencies have undertaken notice and comment rulemaking with respect to a number of matters that clearly fall within the majority’s definition of “personnel.” As merely one example, in 1977 the Civil Service Commission issued a proposed rule in order to extend the federal employees’ health benefits program “open season” from two to four weeks in length. 42 Fed.Reg. 41866 (1977). See also 41 Fed.Reg. 21359 (1976) (Commission proposed rule that amended open season provisions). After passage of the Civil Service Reform Act of 1978, OPM continues to be subject to notice and comment requirements with respect to open season provisions. See Nat’l Fed’n of Federal Employees v. Devine, 671 F.2d 607 (D.C. Cir. 1982).


. Center for Auto Safety v. Tiemann, 414 F.Supp. 215, 221 n.8 (D. D.C. 1976).


. The House report pointed out that the exceptions would apply “only ‘to the extent’ that the excepted subject matter is clearly and directly involved.” H.R.Rep.No. 1980, 79th Cong., 2d Sess. (1946), reprinted in Legislative History, supra note 3, at 257. See also S.Rep. No. 752, 79th Cong., 1st Sess. (1945), reprinted in Legislative History, supra note 3, at 199 (exceptions apply “only ‘to the extent’ that the excepted subjects are directly involved.”).

